I concur in what is said in the opinion prepared by Mr. Justice THOMAS concerning the phase of this case which involves the question of whether or not Frank Adams was the victim of undue influence and was caused by such undue influence to execute an instrument disposing of property of great value by way of gift to certain nephews and nieces.
The record fails to show the exercise of any influence by anyone who benefited from the transaction. Such influence as may have been exerted was exerted by those whose financial status was in no way improved by the action of Mr. Adams; not is there any reason appearing in the record why those who had the opportunity to influence Mr. Adams should have had any desire to unduly influence him in this regard.
As the second question presented, viz.: Whether or not Mr. Adams possessed mental capacity to determine and act for himself so that his act in this regard would be his valid and binding deed, I can only agree with the conclusion reached in the majority opinion because of that well established rule that, "Where the findings of the chancellor are supported by the evidence, or where the evidence is conflicting and there is substantial evidence to support the chancellor's findings such findings will not be set aside unless the appellant makes it clearly to appear that substantial error was committed by the chancellor in his conclusions, or that the evidence clearly shows them to be erroneous." *Page 740 
See cases cited in paragraph 169, Appeal and Error, Vol. 1, Encyclopedic Digest of Florida Reports.
After consideration of the evidence submitted in this case it is my opinion that had the chancellor reached the conclusion that the deed involved was void because of the mental incapacity of Frank Adams, this Court would have been bound by that conclusion and would have been required to affirm such findings in conformity with the rule above stated.
In other words, the evidence is so conflicting in regard to Mr. Adams' mental capacity that the appellate court is bound to affirm the findings of the chancellor, regardless of the conclusions to which those findings lead.
                    ON PETITION FOR REHEARING